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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

 

 

 

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CASE NO. 22-MJ-8332-BER FILED BY_ {0% tnd
IN RE: SEALED SEARCH WARRANT JUL 14 2023
ANGELA E. NOBLE
/ CLERK U.S. DIST. CT.
i S.0. OF FLA. -WPB.
ORDER TO UNSEAL

On July 5, 2023, I ordered the Clerk of Court to unseal an Order dated June
12, 2023, that authorized the Government to disclose materials in discovery in case
number 23-80101-CR (“Unsealing Order”).! ECF No. 154. The Unsealing Order was
stayed to allow the United States to decide whether to appeal. Jd. Since then, the
United States filed a sealed motion for reconsideration, which was denied in a sealed
Order. ECF Nos. 157 (sealed), 158 (sealed), 159 (sealed). The United States has now

filed a Notice that it does not intend to appeal the Unsealing Order. ECF No. 163.

 

1In the Unsealing Order, I incorrectly referred to the disclosure Order as docket entry
147. In fact, the Order is docket entry 146 and the corresponding motion is docket
entry 147.
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WHEREFORE, it is ORDERED that:

1. The Clerk of the Court shall unseal docket entry 146.

2. On or before 5:00 p.m. Eastern time on July 24, 2023, the United States
shall file under seal a notice stating its position on what, if any, portions of
docket entries 157, 158, and 159 should be unsealed.

3. Docket entry 147 shall remain under seal.

DONE and ORDERED in Chambers this 14th day of July, 2023, at West

Palm Beach in the Southern District of Florida.

Ja. bE

BRUCE E. REINHART
UNITED STATES MAGISTRATE JUDGE

 
